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JOURNAL
of the
SENATE OF THE
FIFTEENTH LEGISLATURE
of the

STATE OF HAWAII

Regular Session of 1990

Convened Wednesday, January 17, 1990
Adjourned Friday, May 4, 1990

EXHIBIT “O”

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although the language indicates that @ natural parent may request access to adaption records, the procedwe set
out only covers situations where an adapted individual or adoptive parents request access.

(9) A provision has been added for adoptions accurring prio to January 1, 1991, to permit a naturel parent or an
adoptee to file an affidavit consenting to the inspection of records by the other.

(10) A new provision has been added to allow a natural parent to obtain a copy of the original birth certificate.
(11) Technical, nonsubstantive amendments were macle for purposes of clarity and style

Your Committee recognizes that there are compelling arguments for fully opening up adoption records; and that this bill

as amended by your Committee, while it is a major step, may be just the first step to more liberal access 10 adoption
records in the future

Your Committee on Judiciary is in accord with the intent and purpose of H.B. No. 2089, H.D. 1, as amended herein,
and recommends that it pass Second Reading in the form attached hereto us H.B. No. 2089, H.D. 1, S.D. 1, and be
placed on the calendar for Third Reading.

Signed by all members of the Committee.
SCRep. 3057 Judiciary on H.B. No, 2184

The purpose of this bill is to outlaw gambling aboard ships whether it takes place on ships operated solely for that
purpose or on ones which offer gambling incidental to other legitimate activities.

Your Commitice received testimony in support of the bill from the Attorney General and the Department of
Transportation. The Attorney General noted that the State has long taken a stand against gambling because of its
traditional association with organized crime and because it tends io climinish the State's reputation us the premier tourist
destination, especially for families, with # corresponding economic impact. He tndicated that this bill would prevent a
recent proposal to begin inter-island operation of one of these ships trom becoming u reality.

The Department of Transportation expressed its support for the bill but indicated concein that the language of the bill
was not sulficiently specific to excluce ships travelling to and trom foreign ports and the continental United States from
being placed within its ambit. These ships close down and lock their gambling equipment when they sail in State waters
and, therefore, do not present the cause for concern represented by gambling ships operated locally. Accordingly, your
Committee has amended the bill to make it clear that these ships are not in violation of the proposed law if they conduct
gambling activity when travelling to or front foreign ports or the continental United! States.

Your Committee has also amended the bill to make it clear that operators of legitimate tour ships, on which gambling is
being conducted without their consent or knowledge, will not be subjected to criminal liability for gambling concucted by
employees or passengers. Your Committee turther amends the bill so that persons transporting passengers to and from
ships on which gambling is taking place would not be covered under this new section. The final amendment made by
your Commitee deletes the provision which subjects persons soliciling, enticing, inducing, persuading or procuring
persons from visiting gambling ships to criminal liability. Your Committee is of the opinion that these provisions raise
questions of equal protection, as persons are permitted to make identical solicitations und promotions for gambling
operations conducted outside of the State.

Your Committee on Judiciary is in accord with the intent and purpose of H.B. No. 2184, H.D. 3, as amended, and
recommends that it pass Second Reading in the form attached hereto as H.B. No. 2184, H.D. 1, S.D. | and be placed on
the calendar for Third Reading.

Signect by all members of the Committee.
SCRep. 3058 Judiciary on H.B. No. 2191

The purpose of this bill is to prohibit the possession of firearms, ammunition, and certain weapons in, on or within 750
feet of the real property comprising a public or private elementary or secondary school.

Testimony in support of this bill was offered by the Attorney General, the Department of Education and the Hawaii
State Teachers Association. They all testified in favor of the bill, which was originally drafted to create a “weapon free
zone” within 750 feet of the real property comprising a public or private school. The Attorney General recounted a series
of recent events in which w teacher was shot while conducting class, students were shot in drive-by shootings. and a
Student was methodically statked, shot and killed in a high school parking lot. This statement was echoed hy the

Department of Education which reported that in the last school year, seven firearms and 61 other weapons were laken
from public school students.

Testimony in opposition to the bill was offered by the Public Defender and a number of firearm enthusiasts. The Public
Defender submitted that a mandatory sentence of 20 years was 100 severe, particularly when compared to other serious
offenses. The firearm enthusiasts were concerned by the fact that numerous legitimate Firearm activities take place on
school campuses, such as ROTC training, hunter safety courses and rifle matches.

While your Committee strongly agrees that our educational institutions should be places of sanctuary, we believe just as
strongly that our entire community should be a safe place to live and leacn and that ever yone deserves to feel tree fiom
the threat of harin wherever they go. To achieve this goal, your Committee has undertaken substantia! amencments to the
bill. First, weapons offenses have been veclassified to reflect their severity. For example, a new subsection hus heen
added to section 134-6, Hawali Revised Statutes, which makes it a class A felony to possess, use or threaten to use a

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firearm in the commission of a felony. A person who violates the requirement that firearms be confined to the person's
place of business, residence or sojourn or that they be transported between these and certain other destinations in a
specitied manner or that handguns not be carried on the person without a permit would be guilty of a class B instead of a
class C felony. Those who violate the requirement that firearms other than handguns not be carried on the person would
be guilty of a class C felony instead of a misdemeanor. Consistent therewith, a person who uses 4 switchblade or other
deadly weapon in the commission of a crime would be guilty of a class C felony.

Your Committee has addressed the very real concern within the community regarding the use by criminals of semi-
automatic “assault” weapons. To that end, your Committee has amended the bill by adding a new subsection to Section
706-660.1, Hawaii Revised Statutes, to provide tor severe mandatory minimum sentences for the use of these weapons in
the commission of a felony. Under current law a first “firearm felony’ offender may be sentenced to a minimum term of
up to 15 years while a second “firearm felony” offender must be sentenced to a mandatory minimum term of up to 20
yeacs. This bill would require that a first semi-automatic or automatic “firearm felony” offender be sentenced to a
mandatory minimum term af up to 20 years. Your Committee believes that these harsh sentences are necessary to keep
these weapons out of the hands of criminals.

Your Committee has also amended the definition of “automatic firearm* to include the parts that are currently available
to convert a firearm to automatic operation.

Your Committee is in accord with the intent and purpose of H.B. No. 2191, H.D. 1, as amended herein, and
recommends that it pass Second Reading in the form attached hereto as H.B. No. 2191 H.D. 1, §.D. 1, and be placed on
the calendar for Third Reading.

Signed by all members of the Committee.
SCRep. 3059 Judiciary on H.B. No. 2398

The purpose of this bill is to ensure that mental health treatment is offered to convicted sex offenders and to create new
offenses reluting to "peeping tom” behavior and sexually harassing telephone calls.

Your Committee received testimony from the Attorney General, the Honolulu Prosecutor, the Honolulu Police
Department, the Public Detender, and a number of private citizens. The Attorney General expressed strong support for
the bill, particularly the provision that would require that treatment be offered to sex offenders. The Honolulu Prosecutor
also expressed strong support for the treatment provision, noting that the compulsive, repetitive behavior of sex offenders
can be changed only by specialized therapy.

Support was also expressed for the provision of the bill that would address the “peeping tom” type of offenses which are
not curcently covered by the Penal Code.

Your Committee found the testimony provided by the private citizens regarding these offenses to be particularly
compelling. One person recounted a series of incidents over a period of fow years during which a male intruder stole
undergarments from a clothesline, began knocking at the door ducing the early morning hours and hounded her to the
point of a nervous breakdown. Ultimately, she was forced to move.

Another person testified about similar conduct occurring over a two year period. An unknown ian stole lingerie,
prowled outside the bedroom window ut night and was caught twice looking in. This person was so disturbed by this
conduct that she spoke to other women and found that many in her neighborhood hacl experienced repeated visits from
men who masturbate outside and into their windows. She even interviewed one offender by arrangement with his
therapist, The man reported that he had @ twenty year career as a peeping tom and public masturbator and that, while
he had been arrested seven or eight times, he had spent only three days in jail and that was imposed on the mainland.
He also stated that he was not required to undergo treatment. Another person testified about a peeping tom lurking in her
yard who was later identified as a rapist being sought by the police.

These people also expressed frustration about the ability of the courts to deal with these offenders. These offenders are
often not recognized or treated as sex offenders. As a result, they are routinely processed along with the rest of the large
case load handled by the District Court and frequently receive only a fine with litle, if any, counseling. As a further
result, the opportunity to examine the offender and provide treatment that will prevent escalation in the severity of these
offenses is often lost.

Your Committee finds that the need for early intervention and treatment of sexual offenders is imperative. While
"peeping toms and “exhibitionists” may seem harmless, these offenses are typically perceived by the victims as potential
burglaries or sexual assaults. The criminal cecords of these individuals justify this concern because the rate of recidivisin
amongst this class of offenders is extremely high and many go on to commit more serious, violent crimes. Treatment
must be afforded to these offenders and they snust be inonitored closely. At the same time, however, the seriousness of
these offenses must be recognized and appropriate sanctions, in addition to treatment, must be imposed.

Accordingly, your Committee has amended the bill to require that all convicted sex offenders undergo presentence
mental and medical examinations. If the resulting report indicates that it is appropriate, the Court would be required to
offer specialized mental health treatment to these offenders while they are under sentence of the court. This would
mandate that treatment be offered to offenders placed on probation whereas currently such treatment is offered only
discretionarily under Section 706-624(2)(k), Hawaii Revised Statutes. Treatment would also be offered to incarcerated
offenders and the Hawaii Paroling Authority would be required to consider the offender's willingness to undergo treatment
and their progress, if any, when considering whether to gcant parole. The authority would also be required to condition
parole on continued treatment if recommended by the offender's therapist.

